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September 13, 2019                                                                 Karin Dryhurst
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Via ECF and E-Mail                                                      karin.dryhurst@wilmerhale.com


Judge Thomas I. Vanaskie
JAMS, Inc.
1717 Arch Street, Suite 3810
Philadelphia, Pennsylvania 19103

       Re:    TransUnion Contract

Dear Judge Vanaskie:

      In accordance with Special Master Order #46, Defendants write to inform the Court that
TransUnion has provided Defendants with a copy of its contract with Dr. Turner.


                                                  Respectfully submitted,


                                                  /s/ Karin Dryhurst
